                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE

    SHEREA RAMSEUR, KRISTINA           )
    POYTNER, JARED BATES, KEVA D.      )
    PIPPIN, LINDA J. CUNDALL and GINA  ) CIVIL ACTION NO.:
    LOEHR, individually and on behalf of all
                                       )
    others similarly situated,         )
                                       )
                           Plaintiffs, )
               v.                      )
                                       )
    LIFEPOINT HEALTH, INC., THE BOARD )
    OF DIRECTORS OF LIFEPOINT          )
    HEALTH, INC., LIFEPOINT HEALTH     )
    RETIREMENT COMMITTEE and JOHN )
    DOES 1-30,                         )
                                       )
                           Defendants. )

                                   CLASS ACTION COMPLAINT

          Plaintiffs, Sherea Ramseur, Kristina Poynter, Jared Bates, Keva D. Pippin, Linda J. Cundall

and Gina Loehr ( Plaintiffs ), by and through their attorneys, on behalf of the LifePoint Health,

Inc. Retirement Plan ( Plan ), 1 themselves and all others similarly situated, state and allege as

follows:

                                      I.      INTRODUCTION

          1.      This is a class action brought pursuant to §§ 409 and 502 of the Employee

Retirement Income Securit Act of 1974 ( ERISA ), 29 U.S.C.                1109 and 1132, against the

Plan s fiduciaries, which include LifePoint Health, Inc. ( LifePoint or Compan ), the Board of

Directors of LifePoint Health, Inc., and its members during the Class Period2 ( Board ), and the



1
    The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
    However, in a breach of fiduciary duty action such as this, the Plan is not a party. Rather,
    pursuant to ERISA § 409, and the law interpreting it, the relief requested in this action is for the
    benefit of the Plan and its participants.
2
    The Class Period, as will be discussed in more detail below, is defined as August 15, 2018 through
    the date of judgment.

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LifePoint Health Retirement Committee and its members during the Class Period ( Committee )

for breaches of their fiduciary duties.

          2.     To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty and prudence upon employers and other plan fiduciaries. Fiduciaries must act

    solel in the interest of the participants and beneficiaries, 29 U.S.C.     1104(a)(1)(A), with the

    care, skill, prudence, and diligence that ould be e pected in managing a plan of similar scope.

29 U.S.C. § 1104(a)(1)(B). These t in fiduciar duties are the highest kno n to the la . Chao

v. Hall Holding Co., Inc., 285 F.3d 415, 426 (6th Cir. 2002), cert. denied, 527 U.S. 1168 (2003).

          3.     At all times during the Class Period, the Plan had at least $1 billion dollars in assets

under management. At the end of 2022 and 2021, the Plan had over $2.4 billion dollars and $2.0

billion dollars, respectively, in assets under management that were/are entrusted to the care of the

Plan s fiduciaries. See The December 31, 2022 Report of Independent Auditor of the LifePoint

Health, Inc. Retirement Plan ( 2022 Auditor Report ), at 5.

          4.     The Plan s assets under management qualifies it as jumbo plan in the defined

contribution plan marketplace, and among the largest plans in the United States. In 2020, only 0.1

percent (892 of 616,050) of plans in the country had more than $1 billion in assets under

management.3 In addition, this was true at the start of the Class Period in 2018 where only 0.1

percent (659 of 586,622) of 401(k) plans in the country were as large as the Plan.4 As a jumbo

plan, the Plan had substantial bargaining power regarding the fees and expenses charged for the

Plan s administrative and recordkeeping costs ( RKA costs).




3
    See The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at Plans, 2020 at Ex.
    1.2, p. 7., available at https://www.ici.org/system/files/2023-09/23-rpt-dcplan-profile-401k.pdf.
4
    See The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018
    at    Ex.     1.2,    p.    7,    available     at     https://www.ici.org/system/files/2021-
    07/21_ppr_dcplan_profile_401k.pdf.

                                                   2
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          5.     The Plan is also large in terms of the number of its participants. From 2018 to 2022,

the Plan had between 41,501 and 54,532 participants with account balances. In 2020, only 0.1

percent (809 of 616,050) of plans in the country had more than 10,000 plan participants.5 In

addition, this was true at the start of the Class Period in 2018 where only 0.1 percent (844 of

586,622) of 401(k) plans in the country had more than 10,000 plan participants.6

          6.     Plaintiffs allege that during the putative Class Period, Defendants, as fiduciaries

of the Plan, as that term is defined under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached

the duties they owed to the Plan, to Plaintiffs, and to the other participants of the Plan by, inter

alia, failing to control the Plan s RKA costs.

          7.     Another way in which Defendants breached their duty to Plan participants was in

failing to defray[] reasonable e penses of administering the [Plan]. 29 U.S.C. § 1104(a)(A)(ii).

Their failure stems from the use of Plan participant forfeited funds to reduce Company

contributions to the Plan instead of using the funds to reduce or eliminate the amounts charged to

Plan participants for RKA services. This action by the Company was a clear breach of the duty of

loyalty to Plan participants and cost Plan participants millions of dollars.

          8.     Defendants mismanagement of the Plan and their blatant disloyalty, which was all

detrimental to participants and beneficiaries, constitutes a breach of the fiduciary duty of prudence

and loyalty, in violation of 29 U.S.C. § 1104. Their actions were contrary to actions of a reasonable

fiduciary and cost the Plan and its participants millions of dollars.

          9.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

fiduciary duty of prudence (First Claim for Relief), breach of the fiduciary duty of loyalty (Second


5
    See The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at Plans, 2020 at Ex.
    1.2, p. 7., available at https://www.ici.org/system/files/2023-09/23-rpt-dcplan-profile-401k.pdf.
6
    See The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018
    at    Ex.     1.2,    p.    7,    available     at     https://www.ici.org/system/files/2021-
    07/21_ppr_dcplan_profile_401k.pdf.
                                                  3
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Claim for Relief), breach of ERISA s Anti-Inurement Provision (Third Claim for Relief), and

failure to monitor fiduciaries (Fourth Claim for Relief).

                             II.    JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

ERISA, 29 U.S.C. § 1001, et seq.

       11.     This Court has personal jurisdiction over Defendants because they transact business

in this District, reside in this District, and/or have significant contacts with this District, and

because ERISA provides for nationwide service of process.

       12.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendants do business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                        III.    PARTIES

       Plaintiffs

       13.       Plaintiff, Sherea Ramseur ( Ramseur ), resides in Hickory, North Carolina.

During her employment, Plaintiff Ramseur participated in the Plan and was subject to the excessive

RKA costs alleged below. She suffered injury to her Plan account by overpaying for her share of

RKA costs. Plaintiff Ramseur also suffered injury due to the fact that Defendants failed to use

forfeited Plan funds to pay Plan RKA costs which, if used to pay for RKA costs, would have

reduced or eliminated the amounts charged to Plaintiff Ramseur s individual account to pay for

the RKA costs.



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       14.     Plaintiff, Kristina Poytner ( Poytner ), resides in Science Hill, Kentucky. During

her employment, Plaintiff Poytner participated in the Plan and was subject to the excessive RKA

costs alleged below. She suffered injury to her Plan account by overpaying for her share of RKA

costs. Plaintiff Poytner also suffered injury due to the fact that Defendants failed to use forfeited

Plan funds to pay Plan RKA costs which, if used to pay for RKA costs, would have reduced or

eliminated the amounts charged to Plaintiff Po tner s individual account to pa for the RKA costs.

       15.     Plaintiff, Jared Bates ( Bates ), resides in Pasco, Washington. During his

employment, Plaintiff Bates participated in the Plan and was subject to the excessive RKA costs

alleged below. He suffered injury to his Plan account by overpaying for his share of RKA costs.

Plaintiff Bates also suffered injury due to the fact that Defendants failed to use forfeited Plan funds

to pay Plan RKA costs which, if used to pay for RKA costs, would have reduced or eliminated the

amounts charged to Plaintiff Bates s individual account to pay for the RKA costs.

       16.     Plaintiff, Keva D. Pippin ( Pippin ), resides in Oklahoma City, Oklahoma. During

her employment, Plaintiff Pippin participated in the Plan and was subject to the excessive RKA

costs alleged below. She suffered injury to her Plan account by overpaying for her share of RKA

costs. Plaintiff Pippin also suffered injury due to the fact that Defendants failed to use forfeited

Plan funds to pay Plan RKA costs which, if used to pay for RKA costs, would have reduced or

eliminated the amounts charged to Plaintiff Pippin s individual account to pa for the RKA costs.

       17.     Plaintiff, Linda J. Cundall ( Cundall ), resides in Brush, Colorado. During her

employment, Plaintiff Cundall participated in the Plan and was subject to the excessive RKA costs

alleged below. She suffered injury to her Plan account by overpaying for her share of RKA costs.

Plaintiff Cundall also suffered injury due to the fact that Defendants failed to use forfeited Plan

funds to pay Plan RKA costs which, if used to pay for RKA costs, would have reduced or

eliminated the amounts charged to Plaintiff Cundall s individual account to pa for the RKA costs.



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         18.     Plaintiff, Gina Loehr ( Loehr ), resides in Las Vegas, Nevada. During her

employment, Plaintiff Loehr participated in the Plan and was subject to the excessive RKA costs

alleged below. She suffered injury to her Plan account by overpaying for her share of RKA costs.

Plaintiff Loehr also suffered injury due to the fact that Defendants failed to use forfeited Plan funds

to pay Plan RKA costs which, if used to pay for RKA costs, would have reduced or eliminated the

amounts charged to Plaintiff Loehr s individual account to pa for the RKA costs.

         19.     Plaintiffs have standing to bring this action on behalf of the Plan because they

participated in the Plan and were injured b Defendants unla ful conduct. Plaintiffs are entitled

to receive benefits in the amount of the difference between the value of their accounts currently,

or as of the time their accounts were distributed, and what their accounts are or would have been

worth, but for Defendants breaches of fiduciar dut as described herein.

         20.     Plaintiffs did not have knowledge of all material facts (including, among other

things, RKA cost comparisons to similarly-sized plans) necessary to understand that Defendants

breached their fiduciary duties and engaged in other unlawful conduct in violation of ERISA until

shortly before this suit was filed.

         Defendants

                 Company Defendant

         21.     LifePoint is the sponsor of the Plan and a named fiduciary of the Plan with a

principal place of business at 330 Seven Springs Way, Brentwood, Tennessee. The December 31,

2020 Form 5500 of the LifePoint Health, Inc. Retirement Plan filed with the United States

Department of Labor ( 2020 Form 5500 ) at 1.7 LifePoint describes itself as a leader in

community-based care and driven by a mission of Making Communities Healthier. Our diversified

healthcare delivery network spans 29 states and includes more than 65 community hospital


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    The Form 5500 is the annual report that 401(k) plans are required to file with the DOL and U.S.
    Department of Treasury pursuant to the reporting requirements of ERISA.
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campuses, more than 30 rehabilitation and behavioral health hospitals, and more than 170

additional sites of care across the healthcare continuum           . 8

          22.     LifePoint appointed the Committee to, among other things, ensure that the

investments available to the Plan s participants are appropriate, had no more expense than

reasonable and performed well as compared to their peers. See The LifePoint Health, Inc.,

Retirement Plan, Amended and Restated Effective Januar 1, 2020 ( Plan Doc. ), at 12. As will

be discussed below, the Committee fell well short of these fiduciary goals. Under ERISA,

fiduciaries with the power to appoint have the concomitant fiduciary duty to monitor and supervise

their appointees.

          23.     Accordingly, LifePoint during the putative Class Period is/was a fiduciary of the

Plan, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because it had a

duty to monitor the actions of the Committee.

          24.     For the foregoing reasons, the Company is a fiduciary of the Plan, within the

meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

                  Board Defendants

          25.     LifePoint, acting through its Board, appointed the Committee to, among other

things, ensure that the investments available to the Plan s participants are appropriate, had no more

expense than reasonable and performed well as compared to their peers. See Plan Doc., at 12. As

will be discussed below, the Committee fell well short of these fiduciary goals. Under ERISA,

fiduciaries with the power to appoint have the concomitant fiduciary duty to monitor and supervise

their appointees.

          26.     Accordingly, each member of the Board during the putative Class Period (referred

to herein as John Does 1-10) is/was a fiduciary of the Plan, within the meaning of ERISA Section



8
    https://lifepointhealth.net/ last accessed on June 15, 2022.
                                                    7
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3(21)(A), 29 U.S.C. § 1002(21)(A) because each had a duty to monitor the actions of the

Committee.

       27.     The Board and the unnamed members of the Board during the Class Period

(referred to herein as John Does 1-10), are collectivel         referred to herein as the      Board

Defendants.

               Committee Defendants

       28.     As discussed above, LifePoint and the Board appointed the Committee to, among

other things, ensure that the investments available to the Plan s participants are appropriate, had

no more expense than reasonable and performed well as compared to their peers. See Plan Doc.,

at 12. As will be discussed below, the Committee fell well short of these fiduciary goals. Under

ERISA, fiduciaries with the power to appoint have the concomitant fiduciary duty to monitor and

supervise their appointees.

       29.     The Committee and each of its members were fiduciaries of the Plan during the

Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because

each exercised discretionary authority over management or disposition of Plan assets.

       30.     The Committee and unnamed members of the Committee during the Class Period

(referred to herein as John Does 11-20), are collectivel referred to herein as the Committee

Defendants.

               Additional John Doe Defendants

       31.     To the extent that there are additional officers, employees and/or contractors of

LifePoint who are/were fiduciaries of the Plan during the Class Period, or were hired as Plan

consultants for the Plan during the Class Period, the identities of whom are currently unknown to

Plaintiffs, Plaintiffs reserve the right, once their identities are ascertained, to seek leave to join

them to the instant action. Thus,      ithout limitation, unkno n John Doe Defendants 21-30

include, but are not limited to, LifePoint officers, employees and/or contractors who are/were
                                                 8
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fiduciaries of the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A)

during the Class Period.

                             IV.      CLASS ACTION ALLEGATIONS

         32.     Plaintiffs brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of themselves and the follo ing proposed class ( Class ):9

                 All persons, except Defendants and their immediate family
                 members, who were participants in or beneficiaries of the
                 Plan, at any time between August 15, 2018 through the date
                 of judgment (the Class Period ).

         33.     The members of the Class are so numerous that joinder of all members is

impractical. The 2020 Form 5500 lists 54,532 Plan participants          ith account balances as of the

end of the plan ear. 2020 Form 5500, at 2.

         34.     Plaintiffs claims are typical of the claims of the members of the Class. Like other

Class members, Plaintiffs participated in the Plan and have suffered injuries as a result of

Defendants mismanagement of the Plan. Defendants treated the Plaintiffs consistently with other

Class members and managed the Plan as a single entity. Plaintiffs claims and the claims of all

Class members arise out of the same conduct, policies, and practices of Defendants as alleged

herein, and all members of the Class have been similarly affected b Defendants                 rongful

conduct.

         35.     There are questions of law and fact common to the Class, and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

                 A.      Whether Defendants are/were fiduciaries of the Plan;




9
    Plaintiffs reserve the right to propose other or additional classes or subclasses in his motion for
    class certification or subsequent pleadings in this action.
                                                   9
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                B.       Whether Defendants breached their fiduciary duties of loyalty and

                         prudence by engaging in the conduct described herein;

                C.       Whether the Company and Board Defendants failed to adequately monitor

                         the Committee and other fiduciaries to ensure the Plan was being managed

                         in compliance with ERISA;

                D.       The proper form of equitable and injunctive relief; and

                E.       The proper measure of monetary relief.

        36.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

vigorous prosecution of this action and anticipate no difficulty in the management of this litigation

as a class action.

        37.     This action may be properly certified under Rule 23(b)(1). Class action status in

this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

members of the Class would create a risk of establishing incompatible standards of conduct for

Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        38.     In the alternative, certification under Rule 23(b)(2) is warranted because the

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.



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                                        V.      THE PLAN

       39.      The Plan is a defined contribution plan        ithin the meaning of ERISA Section

3(34), 29 U.S.C. §1002(34). The Plan is a defined contribution or individual account plan

within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the Plan provides for

individual accounts for each participant and for benefits based solely upon the amount contributed

to those accounts, and any income, expense, gains and losses, and any forfeitures of accounts of

the participants which may be allocated to such participant s account. See The 2022 Auditor

Report, at 7. Consequently, retirement benefits provided by the Plan are based solely on the

amounts allocated to each individual s account. Id.

       Eligibility

       40.      In general, regular full-time employees are eligible to participate in the Plan. See

2022 Auditor Report, at 7.

       Contributions

       41.      There are several types of contributions that can be added to a participant s account,

including: an employee salary deferral contribution, an employee Roth 401(k) contribution, an

employee after-tax contribution, catch-up contributions for employees aged 50 and over, rollover

contributions, discretionary profit-sharing contributions and employer matching contributions

based on employee pre-tax, Roth 401(k), and employee after-tax contributions. See 2022 Auditor

Report, at 7.

       42.      With regard to employee contributions to the Plan: [e]ach participant may elect to

contribute up to 85% of his or her eligible compensation to the Plan on a pre-tax (traditional) basis

or on an after-tax (Roth) basis. Id. LifePoint will make discretionary matching contributions to

the Plan on behalf of its employees which are made in the sole and absolute discretion of the Plan

Sponsor s management in the form of profit-sharing contributions. Id.



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          43.       Like other companies that sponsor a 401(k) plan for their employees, LifePoint

enjoys both direct and indirect benefits by providing matching contributions to the Plan s

participants. Employers are generally permitted to take tax deductions for their contributions to

401(k)     plans      at   the   time   when     the    contributions    are   made.    See   generally,

https:/www.irs.gov/retirement-plans/plan-sponsor/401k-plan-overview.

          44.       LifePoint also benefits in other ways from the Plan s matching program. It is well-

known that [o]ffering retirement plans can help in emplo ers efforts to attract ne            emplo ees

and reduce turnover.             See https://www.paychex.com/articles/employee-benefits/employer-

matching-401k-benefits.

          45.       Given the size of the Plan, LifePoint likely enjoyed a significant tax and cost

savings from offering a match.

          Vesting

          46.       With regard to contributions made by participants to the Plan: [p]articipants are

immediately and fully vested in their salary deferral contributions 2022 Auditor Report, at 10.

However, participants are subject to a two-year vesting schedule for contributions made by

LifePoint. See id.; see also Plan Doc., at Sec. 7.5 (c)(i).

          Forfeiture Accounts

          47.       Forfeiture of non-vested money in Plan participant accounts occurs at the earlier

of: (i) in the case where the Participant does not receive a distribution of his entire Vested Accrued

Benefit         on the last da of the Plan Year in     hich the Participant first incurs five consecutive

Breaks in Service as the result of the termination of his Service; or (ii) immediately upon receipt

of his distribution if the Participant receives a distribution of this entire Vested Accrued Benefit as

the result of his termination of Service. Id., at Sec. 7.6(a).

          48.       Forfeiture may also occur for unclaimed vested amounts of Plan participants who

cannot be located. See id., at Sec. 8.10.
                                                     12
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          49.     Under the Plan document, [a]ll reasonable e penses incurred in the administration

of the Plan shall be paid from the Trust, to the extent permitted by ERISA, unless the Employer,

in its discretion, pays any or all such expenses. Such expenses may be paid out of Forfeitures in

the Trust that occur each Plan Year. Id., at Sec. 17.4.10

          50.     The Auditor Report attached to the Plan s 2018 Form 5500 states Forfeitures

resulting from the non-vested portions of Compan contributions for a terminated participant s

account can be used to reduce future Company contributions or administrative fees of the Plan.

See 2018 Auditor Report, at 8. No equivalent statement relating to LifePoint s abilit to reduce

Company contributions through forfeitures appears to exist in either the Plan document or

Summary Plan Description, effective Januar 1, 2021 ( 2021 SPD ).

          The Plan’s Investments

          51.     The Plan s assets under management for all funds as of December 31, 2022 was

$2,010,101,394.

          Payment of Plan Expenses

          52.     During the Class Period, administrative expenses were paid for using the Plan s

assets. See 2022 Auditor Report, at 11.

 VI.       THE PLAN S FEES DURING THE CLASS PERIOD WERE UNREASONABLE

A.        The Totality of the Circumstances Demonstrates that the Plan s Fiduciaries Failed
          to Administer the Plan in a Prudent Manner

          53.     As described in the Parties section above, Defendants        ere fiduciaries of the

Plan.

          54.     ERISA imposes a prudent person standard b             hich to measure fiduciaries

investment decisions and disposition of assets. Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.

2459, 2467 (2014) (quotation omitted).


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     The IRS noted in 2010 forfeitures are to be exhausted during the year in which they are incurred.
                                                   13
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          55.      The dut to pa onl reasonable fees for plan services and to act solel in the best

interest of participants has been a ke tenet of ERISA since its passage.      Best Practices for Plan

Fiduciaries, at 36, published b Vanguard, 2019.

          ERISA Fee Di clo re R le

          56.     In January 2012, the DOL issued a final regulation under Section 408(b)(2) of

ERISA hich requires a covered service provider to provide the responsible plan fiduciar           ith

certain disclosures concerning fees and services provided to certain of their ERISA governed

plans. This regulation is commonly known as the service provider fee disclosure rule, often

referred to as the 408(b)(2) Regulation. 11

          57.     The required disclosures must be furnished in advance of a plan fiduciary entering

into or extending a contract or arrangement for covered services. The DOL has said that having

this information will permit a plan fiduciary to make a more informed decision on whether or not

to enter into or extend such contract or arrangement.

          58.     As stated b the DOL: ERISA requires plan fiduciaries,           hen selecting and

monitoring service providers and plan investments, to act prudently and solely in the interest of

the plan s participants and beneficiaries. Responsible plan fiduciaries also must ensure that

arrangements        ith their service providers are      reasonable   and that onl       reasonable

compensation is paid for services. Fundamental to the ability of fiduciaries to discharge these

obligations is obtaining information sufficient to enable them to make informed decisions about

an emplo ee benefit plan s services, the costs of such services, and the service providers. DOL

408(b)(2) Regulation Fact Sheet.




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      See https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/fact-
     sheets/final-regulation-service-provider-disclosures-under-408b2.pdf      ( DOL       408(b)(2)
     Regulation Fact Sheet ).
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        59.     For example, in order to make an informed evaluation as to whether a recordkeeper

or other service provider is receiving no more than a reasonable fee for the services provided to a

plan, a prudent fiduciary must identify all fees, including direct compensation and revenue sharing

being paid to the plan s recordkeeper. To the e tent that a plan s investments pa asset-based

revenue sharing to the recordkeeper, prudent fiduciaries monitor the amount of the payments to

ensure that the recordkeeper s total compensation from all sources does not e ceed reasonable

levels, and require that any revenue sharing payments that exceed a reasonable level be returned

to the plan and its participants.

        60.     The 408(b)(2) disclosures in short require a service provider to disclose the services

it provides and the fees it collects for such services so that sponsors can determine the

reasonableness of the arrangement.

        61.     A plan s participants do not have access to the disclosures provided to fiduciaries

under the 408(b)(2) Regulation.

        62.     Instead, plan administrators have a separate obligation under 29 CFR § 2550, 404a-

5 to disclose plan-related information, including fees for certain services to participants. Among

other things, fiduciaries are required to provide plan participants [a] description of the services to

which the charges relate (e.g., plan administration, including recordkeeping, legal, accounting

services). 29 CFR      2550.404a-5(C)(2)(ii)(B).

B.      Costs for Recordkeeping Services Vary Little for a Plan with a Substantial Number
        of Participants

        63.     The term recordkeeping is a catchall term for the suite of administrative services

t picall provided to a defined contribution plan b the plan s recordkeeper. Recordkeeping and

administrative services fees are one and the same and the terms are used synonymously herein and

referred to as RKA.




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       64.      There are two types of essential recordkeeping services provided by all national

recordkeepers for large plans with substantial bargaining power (like the Plan). First, an overall

suite of recordkeeping services is provided to large plans as part of a bundled fee for a buffet

style level of service (meaning that the services are provided, in retirement industry parlance, on

an all-you-can-eat basis), including, but not limited to, the following services:

             A. Recordkeeping;

             B. Transaction processing (which includes the technology to process purchases and

                sales of participants assets, as     ell as providing the participants access to

                investment options selected by the plan sponsor);

             C. Administrative services related to converting a plan from one recordkeeper to

                another;

             D. Participant communications (including employee meetings, call centers/phone

                support, voice response systems, web account access, and the preparation of other

                materials distributed to participants, e.g., summary plan descriptions);

             E. Maintenance of an employer stock fund (if needed);

             F. Plan document services, which include updates to standard plan documents to

                ensure compliance with new regulatory and legal requirements;

             G. Plan consulting services, including assistance in selecting the investment lineup

                offered to participants;

             H. Accounting and audit services, including the preparation of annual reports, e.g.,

                Form 5500s (excluding the separate fee charged by an independent third-party

                auditor);

             I. Compliance support, including assistance interpreting plan provisions and ensuring

                the operation of the plan is in compliance with legal requirements and the



                                                  16
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                provisions of the plan (excluding separate legal services provided by a third-party

                law firm); and

             J. Compliance testing to ensure the plan complies with U.S. Internal Revenue Service

                nondiscrimination rules.

       65.      This suite of essential recordkeeping services can be referred to as Bundled

services. These services are offered by all recordkeepers for one price (typically at a per capita

price), regardless of the services chosen or utilized by the plan. As explained in more detail below,

the services chosen by a large plan do not affect the amount charged by recordkeepers for such

basic and fungible services.

       66.      The second type of essential recordkeeping services, hereafter referred to as A La

Carte services, provided b all national recordkeepers, often has separate, additional fees based

on the conduct of individual participants and the usage of the services by individual participants.

These fees are distinct from the bundled arrangement described above to ensure that one participant

is not forced to help another cover the cost of, for example, taking a loan from their plan account

balance. These A La Carte services typically include, but are not limited to, the following:

             A. Loan processing;

             B. Brokerage services/account maintenance (if offered by the plan);

             C. Distribution services; and

             D. Processing of qualified domestic relations orders.

       67.      All national recordkeepers have the capability to provide all of the aforementioned

recordkeeping services at very little cost to all large defined contribution plans, including those

much smaller than the Plan. In fact, several of the services, such as managed account services,

self-directed brokerage, Qualified Domestic Relations Order processing, and loan processing are

often a profit center for recordkeepers.



                                                 17
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        68.     The cost of providing recordkeeping services depends in large part on the number of

participants in a plan. Plans with large numbers of participants can take advantage of economies of

scale by negotiating a lower per-participant recordkeeping fee. See 1998 DOL Study,12 at 4.2.2. ( Basic

per-participant administrative charges typically reflect minimum charges and sliding scales that

substantiall reduce per capita costs as plan si e increases. ). When more participants in a plan are

on a recordkeeping platform, the recordkeeper allocates its fixed costs over a larger participant

base, which reduces the per-participant cost. As a result, the cost to add a new participant to a plan

is relatively low. And as the overall number of participants increase, the average cost per

participant decreases. Because recordkeeping expenses are driven by the number of participants in

a plan, the vast majority of plans are charged on a per-participant basis.13

        69.     In general, the level, number and character of participant services provided by the

recordkeeper have minimal impact upon the costs of providing recordkeeping. That is because building

and maintaining a robust, intuitive, web-based participant interactive 401(k) account system incurs

large fixed costs. Each additional participant placed on the system causes a minimal

incremental/marginal cost to the record keeper notwithstanding the level, number and character of

the services provided to that additional participant.

        70.     Recordkeepers for large 401(k) plans such as Fidelity, Vanguard, Empower, and

Voya, among others, invest in technology infrastructure necessary to provide recordkeeping and

transaction services to all clients (e.g., website, call center, and some print services).




12
  https://www.dol.gov/sites/dolgov/files/EBSA/researchers/analysis/retirement/study-of-401k-
plan-fees-and-expenses.pdf ( 1998 DOL Stud ).
13
    [T]he actual cost of administrative services is more dependent on the number of participants in
the plan. There is no logical or practical correlation bet een an increase in administrative fees
and an increase in plan assets. He itt Associates, LLC, Be a Responsible Fiduciary: Ask the Right
Questions About 401(k) Plan Fees, Oct. 2008; see also Mercer Investment Consulting, Inc., DC
Fee Management – Mitigating Fiduciary Risk and Maximizing Plan Performance (2013),
https://www.mercer.com/content/dam/mercer/
                                                  18
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       71.     Accordingly, a plan sponsor or fiduciary has the leverage to negotiate favorable rates

given that costs of implementation do not change for the service provider.

       72.     The incremental costs caused by additional participants may include: mailing costs, if

materials are delivered by mail versus Internet; telephone inquiries through an 800 number; check

distributions from the 401(k) plan to the participant; and/or any in person or off line participant

education and investment guidance requiring the personnel time of a record keepers staff member. This

service is normally charged as an additional line-item cost.

       73.     Accordingly, plans with large numbers of participants can take advantage of

economies of scale by negotiating a lower per-participant recordkeeping fee.

C.     Much Information Regarding the Reasonableness of Fees for Recordkeeping Services
       are in the Sole Possession of Plan Fiduciaries

       74.     As noted above, 408(b)(2) disclosures provided to plan sponsors and fiduciaries are

generally not made available to plan participants. The same is true for Plaintiffs and this Plan, as

Plaintiffs do not have access to any 408(b)(2) disclosures that may have been received by the

Plan s fiduciaries.

       75.     Other information has also not been made available to Plaintiffs. For example, a

plan s fiduciaries must remain informed about overall trends in the marketplace regarding the fees

being paid by other plans, as well as the recordkeeping rates that are available. This will generally

include conducting a Request for Proposal ( RFP ) process at reasonable intervals, and

immediatel if the plan s recordkeeping e penses have gro n significantl or appear high in

relation to the general marketplace.

       76.     More specifically, an RFP should happen at least every three to five years as a

matter of course, and more frequently if the plans experience an increase in recordkeeping costs

or fee benchmarking reveals the recordkeeper s compensation to e ceed levels found in other,

similar plans. George v. Kraft Foods Glob., Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v.

Novant Health, Inc., 131 F. Supp. 3d 470, 479 (M.D.N.C. 2015).
                                               19
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          77.    Cerulli Associates stated in early 2012 that more than half of the plan sponsors

asked indicated that the    are likel to conduct a search for [a] recordkeeper ithin the ne t t o

 ears. These RFPs       ere conducted even though man of the plan sponsors indicated that the

have no intention of leaving their current recordkeeper. 14

          78.    Generally, any RFPs, if conducted, would not be made available to plan

participants. The same is true for Plaintiffs here who do not have direct access to such information.

          79.    Additionally, documentation of fiduciary fee monitoring is generally accomplished

in the form of meeting minutes. These minutes do not necessarily need to be lengthy, but they

should describe at minimum the fiduciary topics discussed and the rationale for resulting decisions.

Any related documents or data considered for purposes of the fiduciary review (e.g., market data,

etc.) should be included as attachments to the meeting minutes or otherwise memorialized.

          80.    In an attempt to discover the details of the Plan s mismanagement, on November

8, 2021, the majority of the Plaintiffs wrote to LifePoint requesting, inter alia, meeting minutes

from the Committee. By letter dated December 8, 2021, LifePoint denied the Plaintiffs request

for meeting minutes.

          81.    Reviewing meeting minutes, when they exist, is the bare minimum needed to peek

into a fiduciar s monitoring process. But in most cases, even that s not sufficient. For, [ ]hile

the absence of a deliberative process may be enough to demonstrate imprudence, the presence of

a deliberative process does not      suffice in every case to demonstrate prudence. Deliberative

processes can vary in quality or can be followed in bad faith. In assessing whether a fiduciary

fulfilled her duty of prudence, we ask whether a fiduciary employed the appropriate methods to

investigate and determine the merits of a particular investment, not merely whether there were




14
       Recordkeeper Search Activit E pected to Increase Within Ne t T o Years, Cerulli Assoc.,
     January 8, 2013, https://www.plansponsor.com/most-recordkeeping-rfps-to-benchmark-fees/.
                                                20
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any methods whatsoever. Sacerdote et al. v. New York Univ., 9 F.4th 95, 111 (2d Cir. 2021)

(emphasis in original).

       82.     In short, Plaintiffs did not have and do not have actual knowledge of the specifics

of Defendants decision-making process ith respect to the Plan, including Defendants processes

(and execution of such) for monitoring recordkeeping and administration costs, because this

information is solely within the possession of Defendants prior to discovery. See Braden v. Wal-

mart Stores, Inc., 588 F.3d 585, 598 (8th Cir. 2009) ( If Plaintiffs cannot state a claim    ithout

pleading facts which tend systematically to be in the sole possession of defendants, the remedial

scheme of [ERISA] ill fail, and the crucial rights secured b ERISA ill suffer. ).

       83.     For purposes of this Complaint, Plaintiffs have drawn reasonable inferences

regarding these fiduciary processes based upon information available to Plaintiffs, such as Rule

404a disclosures, Form 5500s filed with the DOL, market surveys, and other authority.

       84.     Defendants breaches of their fiduciar duties, relating to their overall decision-

making, resulted in, inter alia, the imposition of excessive administrative and recordkeeping fees

which wasted the assets of the Plan and the assets of participants.

D.     Circumstantial Facts and Evidence Plausibly Show the Plan Paid Unreasonable
       Recordkeeping Fee and/or he Plan Fid ciarie Failed o Engage in a Pr den
       Process to Evaluate Recordkeeping Fees

       1.      The Plan Recordkeeper Offered Ro ine Ser ice

       85.     It appears that the Plan has three recordkeepers providing services, namely, Wells

Fargo, Prudential and Vanguard ( Recordkeepers ) whose services at minimum overlapped in

2020 when all three Recordkeepers were reported to have received compensation from the Plan.

While it s not per se imprudent to have three entities perform RKA services, here it had disastrous

consequences for plan participants. The more prudent approach would be to reduce the RKA

providers to only one to take advantage of the economies of scale a large plan, such as the Plan,

provides.
                                                 21
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       86.        These Recordkeepers provided services in line with the routine bundled and á la

carte service categories described above. The RKA services performed each year during the Class

Period ere similar so e can look at the Plan s 2020 Form 5500, Schedule C as an e ample year.

The Schedule C lists the following codes indicating the type of general services performed by the

recordkeeper: 13, 15, 21, 37, 50, 62, and 64. Below is a description of the recordkeeping codes:

             13    Contract Administrator

             15     Recordkeeping and information management (computing, tabulating, data

             processing etc.)

             21    Trustee

             37    Participant loan processing

             50    Direct payment from the plan

             62    Float Revenue

             64    Recordkeeping fees

See    Instructions      for    the     2022     Schedule    C     (Form     5500)      available    at

https://www.dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-and-

compliance/reporting-and-filing/form-5500/2022-instructions.pdf at 25-29. Again, the above

services are not out of the ordinary of the services other national recordkeepers provide. Any fees

associated with other ancillary a la carte services performed by the Recordkeepers would be

negligible because it is on a participant-by-participant basis instead of plan-wide.

       87.        While it may not be per se imprudent for a plan to have three recordkeepers, here

it seems that it had disastrous effects on participants retirement savings. It s difficult to understand

how the Plan could take advantage of its economies of scale to get the best possible record-keeping

fees when it utilized three recordkeepers for at least one year of the Class Period as indicated on

the Plan s Form 5500s, a job which is traditionally handled by only one. Given the Plan s high



                                                    22
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recordkeeping fees during the Class Period, as will be discussed in more detail below, it would

have been prudent for the Defendants, to reduce the recordkeepers for the Plan to only one.

       2.        There i No Indica ion Defendan Nego ia ed                 o Red ce      he Plan
                 Recordkeeping Fees During the Class Period

       88.       As noted above, 408(b)(2) disclosures are not available to plan participants. By the

same token, because 408(b)(2) disclosures are provided from a service provider to its client, the

disclosures are not available to any other plan fiduciary either. Accordingly, as noted above, the

best way for a Plan fiduciary (as opposed to a plan participant) to determine whether a plan is

paying reasonable recordkeeping fees is to conduct a RFP.

       89.       Here, the fact that the Plan paid the relatively same amount in recordkeeping fees

from 2016 to 2020, there is little to suggest that Defendants conducted a RFP, or at least an

effective one, at reasonable intervals to determine whether the Plan could obtain better

recordkeeping and administrative fee pricing from other service providers given that the market

for recordkeeping is highly competitive, with many vendors equally capable of providing a high-

level service.

       90.       Had the Defendants genuinely sought a competitive rate, the Plan participants

would have benefited from a significant reduction in RKA costs.

       3.        The Plan Recordkeeping Fee ere/are Unrea onable When Benchmarked
                 Against Other Similarly Situated Plans and Within the Context that Plan
                 Recordkeeping Fees Should Decline as Plan Size Increases

       91.       Because recordkeeping costs are not affected by account size, prudent fiduciaries

of defined contribution plans negotiate recordkeeping fees as a fixed dollar amount rather than as

a percentage of assets. See Mercer Best Practices at 3. Otherwise, as plan assets grow, the

recordkeeping compensation increases without any change in the recordkeeping services, leading

to unreasonable fees.




                                                  23
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          92.    As demonstrated in the charts below, the Plan s participants were saddled with

above-market administrative and recordkeeping fees throughout the Class Period.

          93.     The Plan s per participant RKA fees were as follows:

                                                  Total RKA
                             Participants                                  $PP
                                                  Reported15
                  201816        41,501           $2,275,714.00            $54.84
                  201917        41,312           $2,234,277.00            $54.08
                  202018        54,532           $2,510,086.00            $46.03
                  202119        51,482           $2,023,595.00            $39.31
                  202220        51,154           $1,947,148.00            $38.06

          94.    The above fees were astronomical when benchmarked against similar plans.

          95.    During the Class Period, the Plan had a low of approximately 41,312 total

participants in 2019 to a high of 54,532 total participants in 2020 making it eligible for some of

the lowest fees on the market.

          96.    As discussed above, the recordkeeping was performed throughout the Class Period

by Wells Fargo, Prudential and Vanguard.




15
     To keep the total fees consistent with the comparator plans analyzed below, the total fee was
     determined b adding an amounts reported on Schedule C of the Plan s 5500s hich are
     reported as either direct or indirect costs and which are coded in the categories discussed above
     as common RKA coding which include but are not limited to 13, 14, 15, 16, 37, 50, 60, 62, 64
     and 65. Excluded from these amounts are any amounts reported as, including but not limited to,
     legal, accounting and/or consulting fees. Although no indirect costs are reported it is expected
     that once the total amount of revenue sharing is known this amount will increase.
16
     The Plan s Form 5500 indicates pa ment to Wells Fargo for recordkeeping services             hile
     participant account statements indicate recordkeeping payments to Vanguard.
17
     The Plan s Form 5500 indicates pa ment to Wells Fargo for recordkeeping services             hile
     participant account statements indicate recordkeeping payments to Vanguard.
18
     The Plan s Form 5500 indicates recordkeeping pa ments to Wells Fargo ($1,884,135.00);
     Vanguard ($554,236.00); and Prudential ($71,715.00).
19
     The Plan s Form 5500 indicates recordkeeping pa ments to Prudential.
20
     The Plan s Form 5500 indicates recordkeeping pa ments to Prudential.
                                                   24
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         97.    To fully appreciate the excessiveness of the RKA fees charged to the Plan, let s

start with what another nationally recognized recordkeeper, Fidelity, itself would pay if it were in

Defendants shoes. Fidelity is a good comparator because during the Class Period it was ranked in

the top ten of recordkeepers nationally     like Vanguard and Prudential - as measured by assets

being recordkept:

                        2020 TOP PROVIDERS (RECORDKEEPERS)21

                           Top 10, by Total 401(k) Assets ($MM)
                1               Fidelity Investments          $2,037,733
                2               Empower Retirement            $493,577
                3               The Vanguard Group            $454,223
                4               Alight Solutions              $434,737
                5               Principal Financial Group     $322,976
                6               Voya Financial                $211,389
                7               T. Rowe Price                 $195,224
                8               Prudential Financial, Inc.    $180,544
                9               Bank of America Corporation   $173,412
                10              Charles Schwab                $162,876

         98.    All the above recordkeepers are capable of providing the same quality of service of

and they must do so to succeed in the very highly competitive 401(k) service provider arena.

         99.    In a recent la suit    here Fidelit s multi-billion dollar plan with over fifteen

thousand participants     as sued, the parties [] stipulated that if Fidelity were a third party

negotiating this fee structure at arms-length, the value of services would range from $14-$21 per

person per year over the class period, and that the recordkeeping services provided by Fidelity to

this Plan are not more valuable than those received by other plans of over $1,000,000,000 in assets

where Fidelity is the recordkeeper. Moitoso v. FMR LLC, 451 F.Supp.3d 189, 214 (D. Mass.

2020).

         100.   Fidelity itself defines the relevant marketplace as plans with over a billion dollars

in assets confirming the meaningfulness of the billion-dollar asset marker as used herein.


21
     See https://www.runnymeade.com/blog/401k-providers-2020-top-10-lists/
                                              25
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Additionally, the leading publication that collects 401(k) data, BrightScope/ICI, categorizes plans

in the following tranches:




See The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at Plans, 2019 at Ex.

1.2, p. 7., available at https://www.ici.org/system/files/2022-09/22-ppr-dcplan-profile-401k.pdf.

       101.    Accordingly, the billion-dollar asset mark is significant as all plans over a billion

dollars are considered a category of their own.

       102.    Fidelity stipulated as follows: The value of the recordkeeping services that Fidelity

provided to the Plan in 2014 was $21 per participant; the value of the recordkeeping services that

Fidelity provided to the Plan in 2015 and 2016 was $17 per participant, per year; and the value of

the recordkeeping services that Fidelity has provided to the Plan since January 1, 2017 is $14

per participant, per year. Had the Plan been a third-party plan that negotiated a fixed fee for

                                                 26
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recordkeeping services at arm s length ith Fidelit , it could have obtained recordkeeping services

for these amounts during these periods. The Plan did not receive any broader or more valuable

recordkeeping services from Fidelity than the services received by any other Fidelity-recordkept

plan with at least $1 billion in assets during the Class Period (November 18, 2014 to the

present). Moitoso, et al., v. FMR LLC, et al., No. 18-cv-12122-WGY, ECF No. 138-67, ¶ 2

(emphasis added).

          103.       The significance of the Fidelity stipulation is that the Plan s demographics matches

favorabl          ith the Fidelit plan s demographics. The Plan had 50,000 plus participants during the

Class Period like the Fidelity plan and was a billion-dollar plan like the Fidelity plan.

          104.       Further, looking at recordkeeping costs for plans of a similar size during the Class

Period shows that the Plan was paying higher recordkeeping fees than its peers.

                                             Plan                                                  Cost per
       Recordkeeper     Plan Name                   Assets > $1b   Assets < $1b   Participants
                                             Year                                                participant22
                        Tesla, Inc. 401(k)
       Fidelity                              2021       Yes                         61,773           $27
                        Plan
                        Publicis Benefits
       Fidelity         Connection 401K      2021       Yes                         48,148           $27
                        Plan
                        LifePoint Plan       2021       Yes                         51,482          $39.31


                        Chevron
                        Employee
       Fidelity                              2020       Yes                         33,484           $26
                        Savings
                        Investment Plan
                        LifePoint Plan       2020       Yes                         54,532          $46.03


                        Publicis Benefits
       Fidelity         Connection 401K      2019       Yes                         48,353           $21
                        Plan
                        Tesla, Inc. 401(k)
       Fidelity                              2019                  $633,256,831     36,431           $26
                        Plan
                        The Dow
                        Chemical
       Fidelity         Company              2019       Yes                         37,868           $25
                        Emplo ees
                        Savings Plan
                        Deseret 401(k)
       Great-West                            2019       Yes                         34,938           $22
                        Plan
                        The Savings and
       Vanguard         Investment Plan      2019       Yes                         35,927           $27
                        [WPP Group]


22
     Unless otherwise noted, these fees are taken from the Form 5500.
                                                   27
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                       LifePoint Plan        2019         Yes                    41,312          $54.08


                       Danaher
                       Corporation &
       Fidelity                              2018         Yes                    35,757          $28.00
                       Subsidiaries
                       Savings Plan
                       Kaiser
                       Permanente
       Vanguard        Supplemental          2018         Yes                    47,358          $27.00
                       Savings and
                       Retirement Plan
                       Publicis Benefits
       Fidelity        Connection 401K       2018         Yes                    42,316          $28.00
                       Plan
                       Sanofi U.S.
       T. Rowe Price   Group Savings         2018         Yes                    24,097          $23.00
                       Plan
                       LifePoint Plan        2018         Yes                    41,501          $54.84


          105.     The above chart demonstrates that for similar plans, regarding assets and

participants, the Plan had one of the highest recordkeeping fees. As of the end of 2018 there were

only 844 401(k) plans with 10,000 or more participants. See chart at ¶ 100 above. The Plan s

$48.57 average per participant fee from 2018 to 2021 is almost two times the average fee of $25.58

per participant from 2018 to 2021 for the 12 plans listed above.

          106.     This vast discrepanc bet een the Plan s RKA fees and comparable plans existed

for all years of the Class Period. Indeed, the figures in the above chart is just an example of the

Plan s e cessive RKA fees throughout the Class Period as the Plan had an average of $46.46 per

participant fee from 2018 through 2022.

          107.     Additionally, to further illustrate the excessiveness of the Plan RKA costs,

numerous plans during the Class Period that were smaller in assets and participants, and thus

lacking the bargaining leverage of the Plan, paid less in RKA costs:

 Plan Name                   Plan          Number of        Assets Under   RKA Costs on Per-       Record-keeper
                             Year          Participants     Management     Participant Basis23



23
     In order to keep this comparator analysis consistent with the LifePoint analysis above, RKA
     costs in the chart are derived, in the same manner as for LifePoint, from Schedule C of the Form
     5500s and reflect fees paid to service providers with service codes that signify recordkeeping,
     codes such as 13, 14, 15, 16, 37, 50, 60, 62, 64 and 65 are some examples, but are not limited
     to, these codes. See Instructions for Form 5500 (2020) at pg. 27 (defining each service code),
     https://www.dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-
                                                   28
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 Tesla, Inc. 401(k) Plan   2019     36,431          $633,256,831     $26                  Fidelity

 Dollar General Corp.      2018     19,118          $355,768,325     $18                  Voya
 401(k) Savings and
 Retirement Plan
 Fedex Office and Print    2018     17,652          $770,290,165     $30                  Vanguard
 Services, Inc. 401(k)
 Retirement Savings Plan
 Pilgrim s Pride           2018     18,356          $321,945,688     $26                  Great-West
 Retirement Savings Plan
 JBS 401(k) Savings Plan   2018     19,420          $374,330,167     $25                  Great-West


 Pacific Architects and    2019     14,698          $435,391,716     $23                  Fidelity
 Engineers, LLC 401(k)
 Savings Plan
 Optumcare Management,     2019     10,072          $843,224,007     $22                  Fidelity
 LLC 401(k) Retirement
 Savings Plan


         108.      Thus, the Plan, with over 41,000 participants and over $1.1 billion dollars in assets

in 2018, should have been able to negotiate recordkeeping costs in the low to mid $20 per

participant range from the beginning of the Class Period to the present. Anything above that would

be an outlier especially later in the Class Period when RKA costs per participant should have been

at the cheapest.

         109.      The low to mid $20 range is not an exact rate that every Plan participant should

have paid. To the extent Defendants collected recordkeeping fees through an asset-based

percentage fee, the amount participants paid for recordkeeping fees was a function of a percentage

level and the assets in each participant s account. Meaning, the actual amounts paid by Plan

participants varied according to the assets in their accounts.

         110.      A lower dollar amount paid in fees is primarily reflective of a low balance in the

participant s account. Therefore, if the average per participant fee was reduced to the low to mid

$20 range, the pro rata rates for all participants, including those that were paying less than the low

to mid $20 range, would drop proportionally according to the lever of assets in their accounts.



  and-compliance/reporting-and-filing/form-5500/2020-instructions.pdf at 27. In addition, the
  comparator plans chosen are plans that have little to no revenue sharing and it s for this reason
  that revenue sharing from a plan s funds are not added to per participant amounts.
                                               29
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        111.   Given the size of the Plan s assets during the Class Period and total number of

participants, in addition to the general trend towards lower recordkeeping expenses in the

marketplace as a whole, the Plan could have obtained recordkeeping services that were comparable

to or superior to the typical services provided by the Plan s recordkeeper at a lower cost.

E.      The Company Improperly Reduced its Plan Contributions Through Forfeiture
        Accounts

        112.     All contributions [(both b the emplo er and emplo ee)] are invested through the

Trust, and the Trust investments are administered b the Committee. 2021 SPD at 4. Accordingly,

all contributions to the Trust consist of Plan assets.

        113.   During the Class Period, Defendants breached their ERISA fiduciary duties by

misusing the Plan s assets for Defendants o n benefit and to the detriment of Plan participants.

        114.   As explained above, any contributions in the Trust which do not vest, or which are

not claimed by a Plan participant, are forfeited and placed in a forfeiture account.

        115.   Defendants have improperly used forfeited non-vested Plan assets since at least the

beginning of the Class Period for the Compan s o n benefit to reduce future Compan

contributions instead of using the funds to benefit Plan participants.

        116.   According to information from the Plan s Form 5500, the following represents the

balance in the Plan s forfeiture accounts during the Class Period, the amount of the forfeiture

improperl used to offset Lifepoint s contributions to the Plan, and the amounts used to pa for

Plan administration costs:

                                                         Amts. Used to Offset
                                                         Employer                 Amts Used to Pay
 Year                        Forfeiture Balance          Contributions            Admin Costs
                     2018    $        53,912.00          $ 640,306.00             $      -
                     2019    $       430,136.00          $ 640,000.00             $      -
                     2020    $      1,701,905.00         $ 300,986.00             $ 78,694.00
                     2021    $      1,030,778.00         $ 1,762,681.00           $ 48,224.00
                     2022    $      1,196,546.00         $ 1,099,513.00           $      -
                    Total                                $ 4,443,486.00
                                                  30
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       117.    Based on the above chart, from the beginning of the Class Period through 2022,

$4.4 million was improperly steered from paying RKA costs and instead used to benefit the

Company.

       118.    Defendants effectively placed their own interests above the interests of the Plan and

its participants and caused harm to the Plan and its participants by reducing Plan assets, not

allocating forfeited funds to Plan participants accounts, and also caused Plan participants to incur

at least $5.6 million in expenses that could otherwise have been covered in whole or in part by

forfeited funds.

       119.    Additionally, based on the fact that in 2018 and 2019 the amount of offset exceeded

the balance of the forfeiture accounts, it is likely the Company used forfeiture funds from prior

years to offset Company contributions. This is a violation of IRS and general ERISA requirement

that forfeitures are to be exhausted during the year in which they are incurred.

                                FIRST CLAIM FOR RELIEF
                             Breach of Fiduciary Duty of Prudence
                               (Asserted against the Committee)

       120.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       121.    At all relevant times, the Committee and its members during the Class Period

( Prudence Defendants )      ere fiduciaries of the Plan   ithin the meaning of ERISA      3(21)(A),

29 U.S.C. § 1002(21)(A), in that they exercised discretionary authority or control over the

administration and/or management of the Plan or disposition of the Plan s assets.

       122.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary duties

imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the

assets of the Plan for the sole and exclusive benefit of the Plan s participants and beneficiaries,

and acting with the care, skill, diligence, and prudence under the circumstances that a prudent
                                                 31
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person acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of like character and with like aims.

       123.    The Prudence Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint. The Prudence Defendants also failed to control the costs of

the Plan s recordkeeping and administrative costs.

       124.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan suffered millions of dollars of losses. Had Defendants complied with their fiduciary

obligations, the Plan would not have suffered these losses, and the Plan s participants would have

had more money available to them for their retirement.

       125.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

relief and other appropriate relief for Defendants breaches as set forth in their Pra er for Relief.

       126.    The Prudence Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to commit

breaches b failing to la full discharge such Defendant s o n duties, and kne of the breaches

by the other Defendants and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches. Accordingly, each Defendant is also liable for the breaches

of its co-fiduciaries under 29 U.S.C. § 1105(a).

                              SECOND CLAIM FOR RELIEF
                            Breach of Fiduciary Duty of Loyalty
           (Asserted against the Company, the Committee and Board Defendants)

       127.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       128.    At all relevant times, the Company, the Committee and its members during the

Class Period, and the Board and its members during the Class Period ( Loyalty Defendants ) ere
                                                 32
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fiduciaries of the Plan within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), in that

they exercised discretionary authority or control over the administration and/or management of the

Plan or disposition of the Plan s assets.

       129.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary duties

imposed by ERISA § 404(a), 29 U.S.C. § 1104(a).

       130.    Pursuant to 29 U.S.C. § 1104(a)(1)(A), the Loyalty Defendants were required to

discharge their duties to the Plan solel in the interest of the participants and beneficiaries and

 for the e clusive purpose of: (i) providing benefits to participants and their beneficiaries; and (ii)

defraying reasonable e penses of administering the plan.

       131.    The Loyalty Defendants failed to exercise their duty of loyalty to the Plan and its

participants by utilizing forfeited funds in the Plan for the benefit of the Company instead of the

sole interest of the Plan participants and beneficiaries.

       132.    The Loyalty Defendants used these Plan assets for the purpose of reducing the

Compan s own contributions to the Plan, thereby saving the Company millions of dollars each

year at the expense of the Plan which received decreased Company contributions and its

participants and beneficiaries were forced to incur avoidable expense deductions to their individual

accounts.

       133.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan suffered millions of dollars of losses.

       134.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Loyalty Defendants are liable

to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must restore

any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable relief and

other appropriate relief for Defendants breaches as set forth in their Pra er for Relief.

       135.    Each Loyalty Defendant is also liable for the breaches of its co-fiduciaries under

29 U.S.C. § 1105(a).
                                                  33
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                                    THIRD CLAIM FOR RELIEF
                             Breach of ERISA An i-Inurement Provision
                         (Asserted against LifePoint and the Board Defendants)

        136.   Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

        137.   Pursuant to 29 U.S.C.      1103(c)(1), the assets of a plan shall never inure to the

benefit of any employer and shall be held for the exclusive purpose of providing benefits to

participants in the plan and their beneficiaries and defraying reasonable expenses of administering

the plan.

        138.   Because all forfeited Plan participant funds are initiall placed in the Plan s trust,

these forfeited funds are Plan assets.

        139.   The Companies use of the forfeited funds to defra its o n contributions to the

Plan in order to save itself millions of dollars in funds that the Company would otherwise have to

contribute to the Plan, caused the assets of the Plan to inure to the benefit of the Company in

violation of 29 U.S.C. § 1103(c)(1).

        140.   Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Loyalty Defendants are liable

to restore to the Plan all losses caused by their breaches of ERISA s anti-inurement provision, and

also must restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to

equitable relief and other appropriate relief for Defendants breaches as set forth in their Pra er

for Relief.

        141.   Each Loyalty Defendant is also liable for the breaches of its co-fiduciaries under

29 U.S.C. § 1105(a).

                              FOURTH CLAIM FOR RELIEF
                      Failure to Adequately Monitor Other Fiduciaries
                    (Asserted against LifePoint and the Board Defendants)

        142.   Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.
                                                 34
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       143.         LifePoint and the Board (the Monitoring Defendants ) had the authorit to appoint

and remove members of the Committee, and the duty to monitor the Committee and were aware

that the Committee Defendants had critical responsibilities as fiduciaries of the Plan.

       144.         In light of this authority, the Monitoring Defendants had a duty to monitor the

Committee Defendants to ensure that the Committee Defendants were adequately performing their

fiduciary obligations, and to take prompt and effective action to protect the Plan in the event that

the Committee Defendants were not fulfilling those duties.

       145.         The Monitoring Defendants also had a duty to ensure that the Committee

Defendants possessed the needed qualifications and experience to carry out their duties; had

adequate financial resources and information; and reported regularly to the Monitoring

Defendants.

       146.         The Monitoring Defendants breached their fiduciary monitoring duties by, among

other things:

              (a)       Failing to monitor and evaluate the performance of the Committee Defendants

                        or have a system in place for doing so, standing idly by as the Plan suffered

                        significant losses as a result of the Committee Defendants imprudent actions

                        and omissions, including with respect to allowing the Company to use forfeited

                        funds to pay for Plan RKA services; and

              (b)       failing to remove Committee members whose performance was inadequate in

                        that they continued to maintain excessive RKA costs, all to the detriment of

                        the Plan and Plan s participants retirement savings.

       147.         As a consequence of the foregoing breaches of the duty to monitor, the Plan

suffered millions of dollars of losses. Had the Monitoring Defendants complied with their fiduciary

obligations, the Plan would not have suffered these losses, and the Plan s participants would have

had more money available to them for their retirement.
                                                    35
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        148.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendants are

liable to restore to the Plan all losses caused by their failure to adequately monitor the Committee

Defendants. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set

forth in their Prayer for Relief.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

and requests that the Court awards the following relief:

               A.       A determination that this action may proceed as a class action

        under Rule 23(b)(1), or in the alternative, Rule 23(b)(2) of the Federal Rules of

        Civil Procedure;

               B.       Designation of Plaintiffs as a Class Representatives and

        designation of Plaintiffs counsel as Class Counsel;

               C.       A Declaration that the Defendants, and each of them, have

        breached their fiduciary duties under ERISA;

               D.       An Order compelling the Defendants to make good to the Plan all

        losses to the Plan resulting from Defendants breaches of their fiduciar duties,

        including losses to the Plan resulting from imprudent investment of the Plan s

        assets, and to restore to the Plan all profits the Defendants made through use of

        the Plan s assets, and to restore to the Plan all profits which the participants would

        have made if the Defendants had fulfilled their fiduciary obligations;

               E.       An order requiring the Defendants to disgorge all profits received

        from, or in respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C. §

        1132(a)(3) in the form of an accounting for profits, imposition of a constructive

        trust, or a surcharge against the Defendants as necessary to effectuate said relief,

        and to prevent the Defendants unjust enrichment;
                                                   36
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             F.      Actual damages in the amount of any losses the Plan suffered, to

      be allocated among the participants individual accounts in proportion to the

      accounts losses;

             G.      An order enjoining Defendants from any further violations of their

      ERISA fiduciary responsibilities, obligations, and duties;

             H.      Other equitable relief to redress Defendants illegal practices and

      to enforce the provisions of ERISA as may be appropriate, including appointment

      of an independent fiduciary or fiduciaries to run the Plan and removal of Plan s

      fiduciaries deemed to have breached their fiduciary duties;

             I.      An award of pre-judgment interest;

             J.      An award of costs pursuant to 29 U.S.C. § 1132(g);

             K.      An a ard of attorne s fees pursuant to 29 U.S.C.      1132(g) and

      the common fund doctrine; and

             L.      Such other and further relief as the Court deems equitable and just.

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